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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            4:05CR3031-2
                                             )
              Plaintiff,                     )
                                             )
vs.                                          )            MEMORANDUM
                                             )            AND ORDER
MARIA DE LOS ANGELES MENDEZ,                 )
                                             )
              Defendant.                     )

       On the joint oral motion of the parties,

       IT IS ORDERED that:

       (1)    Trial of this case as to Defendant Mendez is continued to 9:00 a.m., Monday,
May 22, 2006, as the number two criminal case, before the undersigned United States district
judge, in Lincoln, Nebraska. Since this is a criminal case, the defendant shall be present
unless excused by the court.

      (2)    The time between May 9, 2006 and May 22, 2006, is excluded under the
Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161(h)(1)(I)& (h)(8)(A)(B).

       May 9, 2006.                               BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
